          Case 1:06-mc-10427-PBS Document 9 Filed 05/15/07 Page 1 of 2



                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS

    UNITED STATES OF AMERICA                       )
                                                   )
                         v.                        )     DOCKET NO. 06-10427-PBS
                                                   )
    JEFFREY SHIELDS                                )
                                                   )
    UNITED STATES OF AMERICA                       )
                                                   )
                         v.                        )     DOCKET NO. 06-10439-PBS
                                                   )
    JOEL WETMORE                                   )
                                                   )


    UNITED STATES OF AMERICA                       )
                                                   )
                         v.                        )     DOCKET NO. 06-10449-PBS
                                                   )
    CHARLES PEAVY                                  )
                                                   )

                    MOTION FOR ADDITIONAL TIME TO FILE BRIEFS

       Now come defendants Jeffrey Shields, Joel Wetmore, and Charles Peavy through counsel

and request that this Court allow them an additional two days to file briefs raising constitutional

challenges to the sexually dangerous person statute, 18 U.S.C. § 4248. The briefs were due on

May 14, 2007; the defendants request that they be allowed to file the briefs on May 16, 2007.
          Case 1:06-mc-10427-PBS Document 9 Filed 05/15/07 Page 2 of 2




                                                         JEFFREY SHIELDS
                                                         JOEL WETMORE
                                                         CHARLES PEAVY
                                                         By their attorneys,

                                                         /s/ Page Kelley
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                                  CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing (NEF)
and paper copies will be sent to those indicated as non registered participants on May 15, 2007.

                                                      /s/ Page Kelley
                                                      Page Kelley
